Case No. 1:22-cv-01129-NYW-SKC Document 135 filed 04/27/23 USDC Colorado pg 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:22-cv-01129-NYW-SKC

   ERIC COOMER, Ph.D.,
         Plaintiff

   v.

   MICHAEL J. LINDELL, FRANKSPEECH LLC,
   AND MY PILLOW, INC.,
        Defendants

                STIPULATED MOTION FOR LEAVE TO DISCLOSE CERTAIN
                           CONFIDENTIAL DOCUMENTS

   TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT:

           Plaintiff Eric Coomer, Ph.D. (Dr. Coomer), through counsel, files this Stipulated

   Motion for Leave to Disclose Certain Confidential Documents as follows:

                                 CERTIFICATE OF CONFERRAL

           Plaintiff emailed Defendants with respect to the relief requested herein on April 18,

   2023, and provided a draft motion to Defendants two days later, on April 20. On April 24,

   the parties had a conferral call to discuss the matter. During that call, the parties agreed

   to file this Stipulated Motion.

                                                  FACTS

           1.      During discovery in this case, certain documents, disclosed as

   MYPILLOW 000730 and LINDELL 000790 were produced.                            Those documents are

   submitted herewith as Exhibits 1 and 2.1 Plaintiff wishes to disclose these documents


   1 MYPILLOW 000730, is a native Excel file which is being transmitted to the Court via USB for review and

   traditional filing. MYPILLOW 000790 is attached to this filing.




                                                       1
Case No. 1:22-cv-01129-NYW-SKC Document 135 filed 04/27/23 USDC Colorado pg 2 of 3




   and their contents to the U.S. Attorney’s Office and the Federal Bureau of Investigation.

   Plaintiff further seeks to describe and discuss these documents in a preservation request

   to Herring Networks, Inc. dba One America News Network (OAN). Defendants disagree

   that disclosure of MYPILLOW 000730 and LINDELL 000790 to law enforcement is

   necessary, in particular because the content at issue is already publicly available and in

   possession of the government. Plaintiff, however, is unaware of any source where the

   content at issue is publicly available and cannot verify that these documents have been

   disclosed to law enforcement. Defendants nonetheless do not oppose the relief requested

   herein.

          2.     The Protective Order issued in this case [Dkt. 77] establishes a variety of

   individuals to whom confidential material can be disclosed, but does not include

   investigators with the U.S. Attorney’s Office or the Federal Bureau of Investigation. The

   Protective Order does allow, however, for the Court to enter an Order allowing for

   disclosure outside the limitations of that Order upon the filing of a stipulation by the

   parties. See Dkt. 77, at ¶ 8(i). Plaintiff, without opposition from Defendants, therefore,

   requests such an order here.

          3.     The Protective Order appears to already account for and encompass

   Plaintiff’s request to discuss this matter with OAN. Specifically, the Protective Order

   allows Plaintiff to “disclose, summarize, describe, characterize, or otherwise

   communicate, orally or in writing” with “Persons who appear as an author or recipient on

   the face of the document to be disclosed.” Dkt. 77 at at ¶ 8(d). In an abundance of caution,

   however, Plaintiff requests an order from the Court similarly encompassing this request.




                                                2
Case No. 1:22-cv-01129-NYW-SKC Document 135 filed 04/27/23 USDC Colorado pg 3 of 3




                                       CONCLUSION

         For the foregoing reasons, Plaintiff Eric Coomer, Ph.D. respectfully requests an

   order maintaining the confidentiality designations of MYPILLOW 000730 and

   LINDELL 000790, but granting Plaintiff leave, if he chooses, to provide these documents

   to the U.S. Attorney’s Office in Denver, Colorado and the Federal Bureau of Investigation.

         Respectfully submitted this 27th day of April 2023.

           /s/ Bradley A. Kloewer                  R. Scott Reisch, #26892
    Charles J. Cain, No. 51020                     scott@reischlawfirm.com
    ccain@cstrial.com                              Jessica L. Hays, #53905
    Bradley A. Kloewer, No. 50565                  jessica@reischlawfirm.com
    bkloewer@cstrial.com                           The Reisch Law Firm, LLC
    David E. Jennings, No. 54643                   1490 W. 121st Avenue, Suite 202
    djennings@cstrial.com                          Denver, CO 80234
    Steve Skarnulis                                303-291-0555
    skarnulis@cstrial.com                          720-904-5797—Facsimile
    Zachary H. Bowman
    zbowman@cstrial.com                                   /s/ Ryan P. Malone*
    Cain & Skarnulis PLLC                          Andrew D. Parker, MN # 195042
    P. O. Box 1064                                 parker@parkerdk.com
    Salida, Colorado 81201                         Abraham S. Kaplan, MN #399507
    and                                            kaplan@parkerdk.com
    303 Colorado Street, Suite 2850                Ryan P. Malone, MN Bar # 395795
    Austin, Texas 78701                            malone@parkerdk.com
    719-530-3011/512-477-5011 (Fax)                Jesse H. Kibort, MN # 328595
                                                   kibort@parkerdk.com
    Thomas J. Rogers III, No. 28809                Parker Daniels Kibort LLC
    trey@rklawpc.com                               888 Colwell Building
    Mark Grueskin, No. 14621                       123 N. Third Street
    mark@rklawpc.com                               Minneapolis, Minnesota 55401
    RechtKornfeld PC                               612-355-4100
    1600 Stout Street, Suite 1400                  612-355-4101—Facsimile
    Denver, Colorado 80202                         ATTORNEYS FOR DEFENDANTS
    303-573-1900                                   *Electronically signed with permission
    ATTORNEYS FOR PLAINTIFF




                                               3
